                                      United States Bankruptcy Court
                                     Northern District of California
In re:                                                                                  Case No. 13-41687-CN
Eric Robert Green                                                                       Chapter 13
Kathryn Kaye Green
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0971-4           User: admin                  Page 1 of 2                   Date Rcvd: May 01, 2018
                               Form ID: 3180W               Total Noticed: 45


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 03, 2018.
db/jdb         +Eric Robert Green,   Kathryn Kaye Green,     724 Shumardi Oak Court,     Brentwood, CA 94513-4638
smg           ++CALIFORNIA STATE BOARD OF EQUALIZATION,     ACCOUNT REFERENCE GROUP MIC 29,     P O BOX 942879,
                 SACRAMENTO CA 94279-0029
               (address filed with court: State Board of Equalization,       Collection Dept.,    P.O. Box 942879,
                 Sacramento, CA 94279)
smg            +Labor Commissioner,    1515 Clay St.,    Room 801,    Oakland, CA 94612-1463
cr              ECAST SETTLEMENT CORPORATION,    PO BOX 28136,     NEW YORK, NY 10087-8136
cr             +Wells Fargo Bank, N.A.,,    Pite Duncan, LLP,    c/o Catherine T. Vinh,
                 4375 Jutland Drive, Suite 200,    P.O. Box 17933,     San Diego, CA 92177-7921
13162386       +Aes/suntrust Bank,   Po Box 2461,     Harrisburg, PA 17105-2461
13162390       +Barclays Bank Delaware,    Attention: Bankruptcy,     Po Box 1337,    Philadelphia, PA 19105
13234961        FIA CARD SERVICES, N.A.,    4161 Piedmont Parkway,     NC4 105 03 14,    Greensboro, NC 27410
13329078       +Suntrust,   American Education Services,     PO Box 8183,    Harrisburg, PA 17105-8183
13162407        Wachovia Mortgage/World Savings and Loan,     Attn: Bankruptcy Dept.(T7419-015),     Po Box 659558,
                 San Antonio, TX 78265
13269902       +Wells Fargo Bank NA,    AKA: Wachovia Mortgage, a division of We,      Attn: Bankruptcy Department,
                 4101 Wiseman Blvd,    MAC# T7416-023,    San Antonio, TX 78251-4200
13287726       +Wells Fargo Bank, N.A.,    AKA: Wachovia Mortgage, a division of,
                 Wells Fargo Attn: Bankruptcy Department,     4101 Wiseman Blvd,    MAC# T7416-023,
                 San Antonio, TX 78251-4200

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: EDD.COM May 02 2018 06:53:00       CA Employment Development Dept.,
                 Bankruptcy Group MIC 92E,    P.O. Box 826880,    Sacramento, CA 94280-0001
smg             EDI: CALTAX.COM May 02 2018 06:53:00       CA Franchise Tax Board,
                 Special Procedures Bankruptcy Unit,     P.O. Box 2952,    Sacramento, CA 95812-2952
cr             +EDI: BASSASSOC.COM May 02 2018 06:53:00       Capital One, N.A.,    Bass & Associates, P.C.,
                 3936 E. Ft. Lowell Road, Suite #200,     Tucson, AZ 85712-1083
cr             +EDI: WFFC.COM May 02 2018 06:53:00       Wells Fargo Bank, N.A.,    MAC X2303-01A,    1 Home Campus,
                 Des Moines, IA 50328-0001
13325848        EDI: BECKLEE.COM May 02 2018 06:53:00       AMERICAN EXPRESS BANK, FSB,     C/O BECKET AND LEE LLP,
                 POB 3001,    MALVERN, PA 19355-0701
13162387       +EDI: AMEREXPR.COM May 02 2018 06:53:00       American Express,
                 American Express Special Research,     Po Box 981540,   El Paso, TX 79998-1540
13162389        EDI: BANKAMER.COM May 02 2018 06:53:00       Bank Of America,    Attention: Recovery Department,
                 4161 Peidmont Pkwy.,    Greensboro, NC 27410
13162388        EDI: BANKAMER.COM May 02 2018 06:53:00       Bank Of America,    4060 Ogletown/Stanton Rd,
                 Newark, DE 19713
13162396        EDI: CITICORP.COM May 02 2018 06:53:00       Citibank Usa,
                 Citicorp Credit Services/Attn: Centraliz,     Po Box 20507,    Kansas City, MO 64195
13162406        EDI: CITICORP.COM May 02 2018 06:53:00       Unvl/citi,    Attn.: Centralized Bankruptcy,
                 Po Box 20507,    Kansas City, MO 64195
13162391       +EDI: CAPITALONE.COM May 02 2018 06:53:00       Cap One,    Po Box 30253,
                 Salt Lake City, UT 84130-0253
13162392       +EDI: CAPITALONE.COM May 02 2018 06:53:00       Capital 1 Bank,    Attn: Bankruptcy Dept.,
                 Po Box 30285,    Salt Lake City, UT 84130-0285
13162393        EDI: CAPITALONE.COM May 02 2018 06:53:00       Capital One,    P.O Box 60024,
                 City Of Industry, CA 91716-0024
13330864       +EDI: BASSASSOC.COM May 02 2018 06:53:00       Capital One, N.A.,    c/o Bass & Associates, P.C.,
                 3936 E. Ft. Lowell Road, Suite #200,     Tucson, AZ 85712-1083
13279347       +E-mail/Text: bncmail@w-legal.com May 02 2018 03:01:03        Cerastes, Llc,
                 C O Weinstein And Riley, Ps,    2001 Western Avenue, Ste 400,     Seattle, WA 98121-3132
13162394       +E-mail/Text: cst.bankruptcy@chase.com May 02 2018 03:01:29        Chase,    Po Box 7013,
                 Indianapolis, IN 46207-7013
13162395       +EDI: CHASE.COM May 02 2018 06:53:00       Chase,   Po Box 15298,    Wilmington, DE 19850-5298
13162397       +E-mail/Text: electronicbkydocs@nelnet.net May 02 2018 03:01:00        Dept Of Education/neln,
                 121 S 13th St,    Lincoln, NE 68508-1904
13173085        EDI: DISCOVER.COM May 02 2018 06:53:00       Discover Bank,    DB Servicing Corporation,
                 PO Box 3025,    New Albany, OH 43054-3025
13162398       +EDI: DISCOVER.COM May 02 2018 06:53:00       Discover Fin Svcs Llc,    Po Box 15316,
                 Wilmington, DE 19850-5316
13162399        EDI: CALTAX.COM May 02 2018 06:53:00       Franchise Tax Board,    Attn: Sharon Jones,
                 1515 Clay Street,    Suite 3N-305,   Oakland, CA 94612-1431
13162400       +EDI: RMSC.COM May 02 2018 06:53:00       Gemb/Mens Wearhouse,    Attn: bankruptcy,    Po Box 103104,
                 Roswell, GA 30076-9104
13162401       +EDI: CITICORP.COM May 02 2018 06:53:00       Home Deport Credit SVC,     PO Box 6926,
                 The Lakes, NV 88901-6926
13162403       +EDI: IRS.COM May 02 2018 06:53:00       Internal Revenue Service,    2970 Market Street,
                 Mail Stop 5-Q30.133,    Philadelphia, PA 19104-5002
13162404       +E-mail/Text: electronicbkydocs@nelnet.net May 02 2018 03:01:00        Nelnet Loan Services,
                 3015 S. Parker Road,    Suite 425,   Aurora, CO 80014-2904


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District/off: 0971-4                  User: admin                        Page 2 of 2                          Date Rcvd: May 01, 2018
                                      Form ID: 3180W                     Total Noticed: 45


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
13217506       +E-mail/Text: electronicbkydocs@nelnet.net May 02 2018 03:01:00
                 Nelnet on behalf of the U.S. Dept. of ED,    3015 South Parker Road, Suite 400,
                 Aurora, CO 80014-2904
13300690        EDI: PRA.COM May 02 2018 06:53:00     Portfolio Recovery Associates, LLC,     POB 41067,
                 Norfolk, VA 23541
13280196        EDI: Q3G.COM May 02 2018 06:53:00     Quantum3 Group LLC as agent for,     MOMA Funding LLC,
                 PO Box 788,   Kirkland, WA 98083-0788
13162405       +EDI: SEARS.COM May 02 2018 06:53:00      Sears/cbna,   Po Box 6282,    Sioux Falls, SD 57117-6282
14099413       +EDI: WFFC.COM May 02 2018 06:53:00      Wells Fargo Bank, N.A.,   PO Box 31557,
                 Billings, MT 59107-1557
14099414       +EDI: WFFC.COM May 02 2018 06:53:00      Wells Fargo Bank, N.A.,   1 Home Campus,
                 Des Moines, IA 50328-0001
13291108        EDI: ECAST.COM May 02 2018 06:53:00      eCAST Settlement Corporation,    POB 29262,
                 New York NY 10087-9262
13681899       +EDI: BASSASSOC.COM May 02 2018 06:53:00      eCAST Settlement Corporation,
                 c/o Bass & Associates, P.C.,   3936 E Ft. Lowell, Suite 200,    Tucson, AZ 85712-1083
                                                                                              TOTAL: 33

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +Wells Fargo Bank, N.A.,,   Pite Duncan, LLP,    c/o Catherine T. Vinh,
                   4375 Jutland Drive, Suite 200,   P.O. Box 17933,    San Diego, CA 92177-7921
cr*               eCAST Settlement Corporation,   POB 29262,    New York, NY 10087-9262
13298960*        +Cerastes, Llc,   C O Weinstein And Riley, Ps,    2001 Western Avenue, Ste 400,
                   Seattle, WA 98121-3132
13162402*         Internal Revenue Service,   PO Box 7346,   Philadelphia, PA 19101-7346
                                                                                               TOTALS: 0, * 4, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 03, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 30, 2018 at the address(es) listed below:
              Alane A. Becket    on behalf of Creditor   eCAST Settlement Corporation notices@becket-lee.com
              Catherine T. Vinh    on behalf of Creditor   Wells Fargo Bank, N.A., cvinh@piteduncan.com,
               ecfcanb@piteduncan.com
              Jennifer Pursley     on behalf of Creditor   eCAST Settlement Corporation ecf@bass-associates.com
              Joan M. Grimes    on behalf of Joint Debtor Kathryn Kaye Green joangrimeslaw@gmail.com,
               grimesecf@gmail.com
              Joan M. Grimes    on behalf of Debtor Eric Robert Green joangrimeslaw@gmail.com,
               grimesecf@gmail.com
              Martha G. Bronitsky    13trustee@oak13.com
              Office of the U.S. Trustee/Oak    USTPRegion17.OA.ECF@usdoj.gov
                                                                                             TOTAL: 7




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Information to identify the case:
Debtor 1              Eric Robert Green                                              Social Security number or ITIN   xxx−xx−2170

                      First Name   Middle Name   Last Name                           EIN   _ _−_ _ _ _ _ _ _

Debtor 2              Kathryn Kaye Green                                             Social Security number or ITIN   xxx−xx−3705
(Spouse, if filing)
                      First Name   Middle Name   Last Name                           EIN   _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Northern District of California

Case number: 13−41687




Order of Discharge                                                                                                                  12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Eric Robert Green                                            Kathryn Kaye Green


               4/30/18                                                      By the court:           Charles Novack
                                                                                                    United States Bankruptcy Judge



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                               Most debts are discharged
                                                                             Most debts are covered by the discharge, but not all.
                                                                             Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                    liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                    In a case involving community property: Special rules
attempt to collect a discharged debt from the                                protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                            spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                  case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                            Some debts are not discharged
debtors by mail, phone, or otherwise in any                                  Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                       ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                       ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                 ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                           U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                      523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                       the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                           For more information, see page 2




Form 3180W                                                   Chapter 13 Discharge                                       page 1




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    ♦ debts that the bankruptcy court has                         ♦ debts for restitution, or damages,
      decided or will decide are not discharged                     awarded in a civil action against the
      in this bankruptcy case;                                      debtor as a result of malicious or willful
                                                                    injury by the debtor that caused
                                                                    personal injury to an individual or the
    ♦ debts for most fines, penalties, forfeitures,                 death of an individual; and
      or criminal restitution obligations;

                                                                  ♦ debts for death or personal injury
    ♦ some debts which the debtors did not                          caused by operating a vehicle while
      properly list;                                                intoxicated.

    ♦ debts provided for under 11 U.S.C. §                 In addition, this discharge does not stop
      1322(b)(5) and on which the last payment             creditors from collecting from anyone else who
      or other transfer is due after the date on           is also liable on the debt, such as an insurance
      which the final payment under the plan               company or a person who cosigned or
      was due;                                             guaranteed a loan.

    ♦ debts for certain consumer purchases
      made after the bankruptcy case was filed if           This information is only a general
      obtaining the trustee's prior approval of             summary of a chapter 13 discharge; some
      incurring the debt was practicable but was            exceptions exist. Because the law is
      not obtained;                                         complicated, you should consult an
                                                            attorney to determine the exact effect of
                                                            the discharge in this case.




Form 3180W                                 Chapter 13 Discharge                              page 2




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